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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

EASTERN DIVISION
CALVIN DOWDELL, )
Plaintiff,
Vv. Case No.: 3:17-cv-00549-WC
LEE COUNTY, ALABAMA, et al.,
Defendants.

PLAINTIFE’S THIRD AMENDED COMPLAINT
COMES NOW, CALVIN DOWDELL (hereinafter referred to as “Mr. Dowdell”)

and amends the original complaint against LEE COUNTY, ALABAMA (hereinafter
referred to as “Lee County, Alabama”), JAY JONES, INDIVIDUALLY (hereinafter
referred to as “Defendant Jones”), RICHARD ZAYAS, INDIVIDUALLY (hereinafter
referred to as “Defendant Zayas”), and COREY WELCH, INDIVIDUALLY AND IN
HIS OFFICIAL CAPACITY (hereinafter referred to as “Defendant Welch”) and
fictitious parties, A and B who are individuals, and C and D, who are corporations or
other business entities currently unknown, but who will be substituted by amendment,

and for cause of action would respectfully show unto this Honorable Court as follows:

INTRODUCTION
1. This is a civil action arising under the United States Constitution, particularly
under the provisions of the Fourth, Eighth and Fourteenth Amendment to the

Constitution of the United States, and under federal law, particularly the Civil

 

 

 

 

 
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Rights Act, Title 42 of the United States Code § 1983, seeking damages against
Defendants for committing acts, under color of law, with the intent and for the
purpose of depriving Mr. Dowdell of rights secured under the Constitution and
laws of the United States.!

. Plaintiff Calvin Dowdell, an adult and resident of Lee County, Alabama, sues
defendants Jay Jones, individually, Richard Zayas, individually, and Corey Welch,
individually and in his capacity as the Assistant Administrator for Lee County Jail,
acting under color of law as Lee County Sheriff and Deputy, for the Lee County
Sheriff Department’s pattern and practice of allowing the Lee County Jail to
overdetain the Plaintiff on two separate occasions in violation of Mr. Dowdell’s
clearly established Fourth, Eight and Fourteenth Amendment rights, protected
through 42 U.S.C. § 1983, and by the Defendants’ deliberate indifference to the
effect of the practice of overdetention on the rights of the Plaintiff. To overdetain
means holding an individual in the Lee County Detention Facility beyond his
release date.

. Mr. Dowdell also brings common law overdetetion (false imprisonment) claims
against Defendant Corey Welch.

. Mr. Dowdell sues Lee County, Alabama for breaching its statutory duty to furnish

a jail facility with adequate equipment to ensure proper functioning of the jail.

 

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* Although Plaintiff refers to Defendants collectively at times, specific factual references are made concerning
actions or inactions by specific Defendants throughout this Complaint — these are not global allegations. As such,
this pleading complies with current federal standards. FED, R. CIV, P. 8.
8.

9.

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Plaintiff brings this action against Lee County, Alabama under Section 1983 of the
Civil Rights Act of 1871, 42 U.S.C. 1983 to enforce the Fourth, Eighth and
Fourteenth Amendments to the United States Constitution and the correlating
provisions of the Alabama Constitution of 1901, and state common law claims, for
injuties suffered by him due to Lee County, Alabama negligence and breach of
statutory duties.
Mr. Dowdell seeks declaratory and injunctive relief against the defendants to
prevent future infliction of unreasonably motivated harm and costs, reasonable
attorney fees pursuant to 42 U.S.C. § 1988, and all other just legal and equitable
relief. Mr. Dowdell demands a jury trial.

JURISDICTION AND VENUE
Mr. Dowdell timely submitted notice to Lee County, Alabama.
Plaintiff states claims that arise under the United States Constitution and the laws
of the United States, specifically, U.S. Const. amend. IV, VIIL, and XIV, 42
U.S.C. § 1981.
42 U.S.C. § Provides a remedy.

This Court has already determined that it has subject matter jurisdiction.

10, This court has supplemental jurisdiction to hear the state claims that will be set

forth in this complaint.

11.A substantial part of the acts complained of occurred in Lee County, Alabama.

PARTIES

12. Plaintiff, Calvin Dowdell, is a resident of Lee County, Alabama and a U.S. citizen.

 
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13. Defendant Jay Jones

14, Defendant Richard Zayas

15, Defendant Lee County, Alabama is a political subdivision within Alabama.
Defendant Lee County, Alabama is the entity organized under the law of Alabama,
with the capacity to sue and be sued. The County Commission is the legal entity
statutorily responsible for maintaining, equipping and funding the Lee County Jail.

FACTS

16. The Lee County Jail allows investigators or law enforcement to place holds,
without a warrant, on individuals in the Lee County Jail.

17. These holds can range for various lengths of time.

18. The Lee County Sheriff’s Department has a policy that allows for an inmate that is
to be processed for release to be detained beyond the release date and/or adequate
processing time for release at the request of an investigator and/or law
enforcement, even if the investigator and/or law enforcement officer has not
secured a warrant for the individual.

19, Plaintiff alleges that he was the victim of said policy on more than one occassion.
In fact, Defendant Welch stated in his deposition that his investigation of
Plaintiffs over-detentions were due to the fax machine not receiving the faxed
order of release, on the one occasion, and the other overdetention was due to the
hold.

a. “Q. Okay. And do you know that there’s two occasions which he was over-
detained?

 

 

 

 

 
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“A. Yes. I can’t remember the — I think one was the incident about the hold
the investiga — the hold. [...]” (Welch Dep. 10:12-16.)
20. Defendants Jones, Zayas, and Welch has a policy, pattern and practice of

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incarcerating Mr. Dowdell longer than legally authorized.

21. The Lee County Jail does not have a policy to ensure against overdetention, such
as giving release of individuals priority over other tasks.

22. All of the booking and releases of individuals from the Lee County J ail are
performed electronically,

FIRST OVERDETENTION
23, On May 24, 2013, Mr. Dowdell was arrested and placed in the Lee County Jail.

24. Mr. Dowdell’s arrest did not occur pursuant to an atrest warrant.

25.On May 25, 2013, a bond was signed by Mr. Dowdell and a bonding company.

26. Lee County Jail personnel completed National Crime Information Center warrant
search which resulted in no active warrants found.

27.On the eCase Management HDI system, used by the Lee County Jail during this
time, displayed that on 5/25/13 Mr. Dowdell was to be released,

28. At some point, it was communicated to the Lee County Clerk’s office that Mr.
Dowdell was released on May 25, 2013. The Alacourt system reflects that Mr.
Dowdell was released on May 25, 2013.

29. Mr. Dowdell was to be released on May 25, 2013.

30. Mr. Dowdell was not released until May 29, 2013.

31. The eCase Management HDI system displayed that Mr. Dowdell was actually

released from the Lee County Jail on May 29, 2013.

 

 

 
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32. According to the eCase Management HDI system, Mr. Dowdell was not released
in a timely manner due to a “hold” that was not based on an outstanding warrant,
However, due to Lee County, Alabama allowing Defendant Jones to replace the
eCase Management HDI system on a backup that can no longer be accessed by the
current system used in the Lee County Jail, it is unknown at this time which
investigator or law enforcement requested the arbitrary hold be entered into the
eCase Management HDI system nor the time of that entry. Defendant Welch
stated that the hold was placed by the investigator for the arrest on May 24, 2013.
(Welch dep. 15:25-16:1-4.)

33. Mr. Dowdell informed officers on several occasions that he should not be held
since he had posted bond.

34, On information and belief, while Mr. Dowdell was overdetained, Mr. Dowdell
complained to Defendant Zayas. Defendant Zayas refused to address Mr.
Dowdell’s concern about being overdetained, and instead informed Mr, Dowdell
he would have a 72 hour investigatory hold.

35. At some point, Lee County Jail staff removed the hold from the eCase
Management HDI system, and Mr. Dowdell was released four days after his
released date.

36. Once a person is due to be released by court order, the authority of the jailer to
hold that person ceases, and that individual can be held no longer.

37, At all relevant times, defendants Jay Jones, Richard Zayas, and Corey Welch were

acting under color of state law.

 

 
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38. Due to Mr. Dowdell being overdetained in the Lee County Jail, his car was
impounded, he missed work resulting in the loss of his employment, and his loss

of employment resulted in his car being repossessed.

SECOND OVERDETENTION
39. On or about August 23, 2013, Mr. Dowdell was placed in the custody of the Lee

County Jail due to child support arrearage.

40, On October 18, 2013, Mr. Dowdell’s mother paid his purge.

41. On October 18, 2013, Honorable Michael Fellows ordered Mr. Dowdell released
from jail.

42. That said order of release was faxed and/or email to an email established
specifically for order of committal and orders of release. At this time, it is unclear
whether the order was faxed or emailed.

43, On October 18, 2013, the eCase Management HDI system displayed that Mr.
Dowdell was to be released on October 18, 2013.

44. eCase Management HDI system displayed that Mr. Dowdell was not released until
October 22, 2013.

45. Compliance with a court order to release an inmate is not a discretionary by
Defendant Jones, Zayas, and Welch.

46. When Mr. Dowdell complained of being held after an order for is release, he was
told by personnel that he was being held on a 72 hour hold.

47, At all relevant times, defendants Jay Jones, Richard Zayas, and Corey Welch were

acting under color of state law.

 

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48. Due to Mr. Dowdell being overdetained in the Lee County Jail, he missed work
resulting in the loss of his employment.

LEE COUNTY, ALABAMA AND JAY JONES, RICHARD ZAYAS, AND COREY
WELCH

49, Lee County, Alabama has a statutory duty to keep the jails and all the equipment
therein from a state of repair, to preserve it from failure or decline.

50. Lee County, Alabama is authorized by statute to inspect the jail but failed to do so

51. Lee County, Alabama breached its statutory duty by:

a. Allowing equipment provided to the Lee County Jail to fail and/or
malfunction and thus, fall into a state of disrepair.

52. The Lee County Sheriff’s procedures manual requires that inmates’ records be
kept for 10 years. Due to the inability to maintain the eCase Management HDI
system, Lee County, Alabama replaced that system with Southern Software. The
data from eCase Management HDI system was backed up to servers in a format
that is currently inaccessible to the Lee County Jail. Prior to eCase Management
HDI, Lee County, Alabama provide the Lee County Jail with a case management
system called Bloodhound System.

53. The case management system provided by Lee County, Alabama is an internet
based system.

54. As a direct and proximate cause of Defendants’ actions and/or omissions, Plaintiff

has suffered humiliation, embarrassment, and loss of liberty.

 

 
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55. The actions and/or omissions of the Defendants described herein were conducted
intentionally, willfully, maliciously and/or negligently and with callous, reckless,
and deliberate indifference to the clearly established constitutional rights of
Plaintiff.

56. Defendants Jay Jones, Richard Zayas, and Corey Welch acts are in deliberate,
intentional, or reckless disregard of Mr. Dowdell’s clearly established
constitutional right to be free from unreasonable seizure under U.S. Const.
Amend. IV, VIII and XIV, protected through 42 U.S.C. § 1983.

57. Mr. Dowdell suffers damages in amount as a jury shall award.

58. Plaintiff is fearful that he will suffer the same repeated violations of his rights by
Defendants if he is placed in the Lee County Jail.

“COUNT SIX — 42 U.S.C. §1983 DEFENDANT LEE COUNTY

59, Plaintiff repeats and re-alleges cach and every statement set forth above as though
each were set forth herein.

60. Defendant’s inactions and failure to maintain the jail and to fund adequate and
properly maintain computer software amounted to deliberate indifference to
Plaintiff's clearly established rights in violation of the Fourteenth Amendment.

61. Defendant has a statutory duty to keep a jail and all equipment therein in a state of
repair and to preserve it from failure or decline.

62, Lee County, Alabama is authorized by statute to inspect the jail but failed to do so

63. Lee County, Alabama breached its statutory duty by:

 

 
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a. Allowing equipment provided to the Lee County Jail to fail and/or
malfunction and thus, fall into a state of disrepair.

64. Defendant has allowed the Lee County Jail computer system to fall into a state of
failure and/or decline and has failed to ensure proper functioning of the jail in
order to ensure timely release of prisoners. Thus, Defendant has breached its
statutory duty.

65, Defendant’s deliberate indifference to inmates’ constitutional rights arises from
failure to fund appropriate equipment to ensure proper functioning of the jail and
to ensure timely release of prisoners.

66. Plaintiff had the right to be free from confinement without due process of law.

67. Plaintiff was overdetained on two separate occasion, which would not have
happened but for Defendant’s failing to inspect the state of the equipment Lee
County, Alabama provided through funding.

68. Plaintiffis thus entitled to compensatory damages, general and special, resulting
from the violation of the aforementioned constitutional rights under 42 U.S.C. §
1983.

69, Plaintiff has been forced to pursue this action in search of justice and to enforce
the provisions of 42 U.S.C. § 1983 and are therefore entitled to be awarded
reasonable attorney’s fees as part of the costs pursuant to 41 U.S.C. § 1988.

70. That as a direct result of the acts and omissions of the Defendants, and each of

them, Plaintiff has been damaged.

 

 
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COUNT SEVEN — NEGLIGENCE DEFENDANT LEE COUNTY
71. Plaintiff repeats and re-alleges each and every statement set forth above as though

each were set forth herein.

72. Defendant has a statutory duty to maintain the jail and is obligated to pay any
expenses incident to the maintenance of the building and all its equipment from
failure or decline.

73. Defendant breached that duty by failing to fund adequate equipment for the jail,
causing the Plaintiff to be overdetained. Defendant breached that duty by failing to
provide the jail facility with adequate computer software for the efficient
processing of inmates, which resulted and/or contributed to the Plaintiff being
over-detained.

74. Defendant’s breach of its statutory duty in failing to fund adequate computer
software system caused and/or contributed to the violation of Plaintiff’s
constitutional rights.

75. As a direct and proximate result of the negligence of the Defendant, Plaintiff
suffered serious emotional distress and the loss of property and employment;
humiliation and embarrassment.

COUNT EIGHT — 42 U.S.C. § 1983 - DEFENDANT JONES, ZAYAS AND
WELCH

76, Plaintiff repeats and re-alleges each and every statement set forth above as though
each were set forth herein.
77, Defendants, and each of them, acted under color of law in detaining Plaintiff

without legal probable cause, thereby depriving Plaintiff of certain constitutionally

 

 
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protected rights, including but not limited to, the right not to be deprived of liberty
without due process of law as guaranteed by the Fourth, Eighth and Fourteenth
Amendments to the United States Constitution, actionable pursuant to 42 U.S.C. §
1983.

78. That as a result of the foregoing wrongful and unlawful acts of Defendants as
alleged above, Plaintiff was deprived of his freedom. The wrong and unlawful acts
perpetrated by Defendants in intentionally disregarding the constitutional rights of
the Plaintiff were willful, oppressive, malicious and within wanton disregard for
the established rights of the Plaintiff.

79, Defendants’ policy regarding “holds” amount to intentional and deliberate
indifference to clearly established guaranteed by the Constitution and applicable
state law.

80, Plaintiff was willfully, maliciously, and intentionally imprisoned without
Justification, reasonable suspicion, probable cause, or a void warrant.

81. Defendants’ actions were committed with actual malice toward Plaintiff and with
willful and wanton disregard to and deliberate indifference for Plaintiff's
constitutional and statutory rights.

82. Defendant Jones has a statutory duty to provide a written report of a prisoner’ s
discharge to the Lee County Clerk’s office.

83. Defendants had knowledge of Dowdell's signed bond and/or Lee County Family
Division Judge Fellows' order releasing Dowdell, and that Defendants disregarded

the same.

 

 

 
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84. Defendant Zayas had actual knowledge of Plaintiff’s complaints of being over-
detained but failed to investigation or take any action to correct the illegality of
Plaintiffs confinement. Zayas was deliberately indifferent.

85. Defendants acted in bad faith, beyond their authority and/or in a mistaken
interpretation of law when they held Plaintiff after Plaintiff had signed a bond, on
one occasion, and after a court ordered Plaintiff's release, on another occasion.

86. Defendants participated in and/or ratified the overdetention of Plaintiff.

87. Sheriff Jay Jones is the final policy maker, directly liable for the acts of all
Defendant Officers for failing to enforce the rights provided under the United
States Constitution and the laws of the State of Alabama.

88. The Defendant has the duty and responsibility to implement and enforce the
guidelines, procedures, and regulations of the Lee County Sheriff’s Department
and to train and supervise the conduct of its employees to ensure they are properly
trained.

89. The Defendant Sheriff's failure to enforce the rights provided under the United
States Constitution, the laws of the State of Alabama, and the regulations of the
Lee County Sheriff's Department encouraged and caused constitutional violations
by all Defendant Officers.

90. As a direct and proximate result of the acts and omissions of Defendants, Plaintiff
was deprived of his physical liberty.

91. The unlawful detentions of Plaintiff by Defendants when Defendant officers knew

Plaintiff was due to be released, by bond and/or by court order, and where no valid

 

 

 

 
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watrant existed was done with actual malice toward Plaintiff and with willful and
wanton indifference to and deliberate disregard for the constitutional rights of the
Plaintiff. Plaintiff is thus entitled to exemplary damages against the individual
defendants in their individual capacity.

92. Plaintiffis entitled to injunctive relief, compensatory and exemplary damages
resulting from the violation of the aforementioned rights under 42 U.S.C. § 1983.

93. Plaintiff has been forced to pursue this action in search of justice and to enforce
the provisions of 42 U.S.C. § 1983 and is therefore entitled to be awarded
reasonable attorney’s fees pursuant to 41 U.S.C. § 1988.

94. That as a direct result of the acts and omissions of the Defendants, and each of
them. Plaintiff was damaged.

COUNT NINE - FALSE IMPRISONMENT DEFENDANT WELCH

95. Plaintiff repeats and re-alleges each and every statement set forth above as though
each were set forth herein.

96. Defendant Welch’s conduct, as described above, of overdetaining Plaintiff
constitutes false imprisonment.

97. Plaintiff avers that the Defendant Welch breached a duty of care owed to Plaintiff,
so as not to deprive him of his personal liberty, by intentionally restraining or
detaining him without just cause and without mittimus from a court.

98. Plaintiff avers that the Defendant Welch acted in bad faith, beyond their authority,

and/or in a mistaken interpretation of law.

 

 
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99, Plaintiff avers that the Defendant Welch, without probable cause, wrongfully and
unlawfully detained and restrained the Plaintiff against his will through use of

force for a period of four days on one occasion and four days on another occasion.

100. Plaintiff had the right to be free from imprisonment at the hands of ~
Defendant Welch.
101. Plaintiff avers that Defendant Welch, in his individual capacities, is liable

to him for false imprisonment.

102. As a direct and proximate result of Defendant Welch’s conduct, Plaintiff
has incurred special and general damages in an amount to be shown at the time of
trial.

103. Defendant Welch’s conduct was committed intentionally, maliciously, and
with conscious disregard to the safety and liberty interest of the Plaintiff
warranting the imposition of punitive damages.

104, That as a direct result of the acts and omissions of the Welch, Plaintiff was

caused to suffer damages.

CONCLUSION

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

A. For compensatory damages against Defendants;

B. For injunctive relief;

C. For punitive and exemplary damages in a sum in excess of $75,000.00;
D. For reasonable sum as attorneys’ fees, costs of suit and interest;

E. For such other and further relief as the Court deems just and proper; and

 

 

 
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F, A jury for the trial of this matter.

RESPECTFULLY submitted this 13th day of April, 2018.

/s/ Jodi C. Dykes

Jodi C. Dykes (DYK004)
Attorney for Plaintiff
214.N. College Street
Auburn, AL 36830

(850) 373-8816
jcfdykes@gmail.com

CERTIFICATE OF SERVICE

I hereby certify that on this the 13th day of April, 2018, I have electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system, which will provide
notice to the following CM/ECF participant:

Fred L. Clements, Esquire
Webb & Eley, P.C.

7475 Halcyon Pointe Dr.
Montgomery, AL 36124
fclements@webbeley.com
rmeneill@webbeley.com

/s/ Jodi. C. Dykes
Jodi C. Dykes

 
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VERIFIED CLAIM

STATE OF ALABAMA
LEBCOUNTY

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Beiore me, the uadersigued, personally appeared Calvin Dowdell who is more than 19
years old and of sound mind and being duly sworn stated the following:

- My name is Calvin Dowdell, date of birth MES, 20064 am of sound mind, 1
"atti a resident of Lee County, Alabama, Iwas arrested on ot about May 24, 2013 for Driving
Under The Influence Of Aloohol, I made bond, but was not released. Iwas not given areal
reason for this but I was not reloased on May 25, 2018 as stated in the court records, I was held
and leaned later that tt might have been on an investigative hold, I believe it was on May 28 or
29, 20TH Thad several child support court dates and was held for purges, My mother paid my
purge On, October 18, 20f4'but J was not released for several days. Pelor to my release, Iwas
brought out and told that I was belng transferred to the POD at the Jail. Twas told there was a
hold for Burglary IL. After cheoking and del ining me at the brary, I was released, T feel I was
wrongfully held in May and in October, 20 (A. Thad been to court on my DUT charge or October
2, 200 was given credit for 30 days on a one year détitence and a release was entered on that
case, While I was being held on the child support, I sent written notlos of appeal to the Court
Clerk appealing the DUI conviction and to my knowledge it should not have been holding me in

 

 

 

 

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by being held on more than one.cocasion longer than I should have beet held and for no | egal
treason,

I demand damages in thé amount of $100,000.00

LLM Lge.

Calvin Dowdell

Sworn to and subsoribed before me this the 23" day of May, 2014,

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Notary Public

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